Case 1:18-cr-20758-MGC Document 11 Entered on FLSD Docket 10/04/2018 Page 1of 11

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 18-CR-20758-Cooke

UNITED STATES OF AMERICA
vs.
MANUEL ANTONIO BALDIZON MENDEZ,

Defendant.
/

 

PLEA AGREEMENT

The,United States Attorney’s Office for the Southern District of Florida (“this Office”) and
MANUEL ANTONION BALDIZON MENDEZ (hereinafter referred to as the “defendant’’) enter
into the following agreement:

1. The defendant agrees to plead guilty to count | of the Information, which count charges
that from on or about January 2007, to on or about September 2018, in Miami-Dade County, in
the Southern District of Florida, and elsewhere, the defendant did knowingly and willfully conspire
to commit money laundering, in violation of Title 18, United States Code, Section 1956(h).

2. The defendant is aware that the sentence will be imposed by the Court after considering
the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter “Sentencing
Guidelines”). The defendant acknowledges and understands that the Court will compute an
advisory sentence under the Sentencing Guidelines and that the applicable guidelines will be
determined by the Court relying in part on the results of a pre-sentence investigation by the Court’s
probation office, which investigation will commence after the guilty plea has been entered. The
defendant is also aware that, under certain circumstances, the Court may depart from the advisory

Sentencing Guidelines range that it has computed, and may raise or lower that advisory sentence
Case 1:18-cr-20758-MGC Document 11 Entered on FLSD Docket 10/04/2018 Page 2 of 11

2
under the Sentencing Guidelines. The defendant is further aware and understands that the Court

is required to consider the advisory guideline range determined under the Sentencing Guidelines,
but is not bound to impose a sentence within that advisory range; the Court is permitted to tailor
the ultimate sentence in light of other statutory concerns, and such sentence may be either more
severe or less severe than the Sentencing Guidelines’ advisory range. Knowing these facts, the
defendant understands and acknowledges that the Court has the authority to impose any sentence
within and up to the statutory maximum authorized by law for the offenses identified in paragraph
1 and that the defendant may not withdraw the plea solely as a result of the sentence imposed.

3. The defendant also understands and acknowledges that the Court may impose a
statutory maximum term of imprisonment of up to 20 years, followed by a term of supervised
release of up to five years. In addition to a term of imprisonment and supervised release, the
Court may impose a fine of up to $500,000 or twice the value of the property involved in the
transaction, whichever greater.

4. The defendant further understand and acknowledges that, in addition to any sentence
imposed under paragraph 3 of this agreement, a special assessment in the amount of $100 will be
imposed on the defendant. The defendant agrees that any special assessment imposed shall be
paid at the time of sentencing. Ifthe defendant is financially unable to pay the special assessment,
the defendant agrees to present evidence to this Office and the Court at the time of sentencing as
to the reasons for the defendant’s failure to pay.

5. This Office reserves the right to inform the Court and the probation office of all facts
pertinent to the sentencing process, including all relevant information concerning the offenses

committed, whether charged or not, as well as concerning the defendant and the defendant’s
Case 1:18-cr-20758-MGC Document 11 Entered on FLSD Docket 10/04/2018 Page 3 of 11

3
background. Subject only to the express terms of any agreed-upon sentencing recommendations

contained in this agreement, this Office further reserves the right to make any recommendation as
to the quality and quantity of punishment.

6. This Office agrees that it will recommend at sentencing that the Court reduce by two
levels the Sentencing Guidelines level applicable to the defendant’s offense, pursuant to Section
3E1.1(a) of the Sentencing Guidelines, based upon the defendant’s recognition and affirmative
and timely acceptance of personal responsibility. If at the time of sentencing the defendant’s
offense level is determined to be 16 or greater, this Office will file a motion requesting an
additional one level decrease pursuant to Section 3E1.1(b) of the Sentencing Guidelines, stating
that the defendant has assisted authorities in the investigation or prosecution of the defendant’s
own misconduct by timely notifying authorities of the defendant’s intention to enter a plea of
guilty, thereby permitting the government to avoid preparing for trial and permitting the
government and the Court to allocate their resources efficiently. This Office further agrees to
recommend that the defendant be sentenced at the low end of the Guideline range, as that range is
determined by the Court. This Office, however, will not be required to make this motion and
these recommendations if the defendant: (1) fails or refuses to make a full, accurate and complete
disclosure to the probation office of the circumstances surrounding the relevant offense conduct;
(2) is found to have misrepresented facts to the government prior to entering into this plea
agreement; or (3) commits any misconduct after entering into this plea agreement, including but
not limited to committing a state or federal offense, violating any term of release, or making false

statements or misrepresentations to any governmental entity or official.
Case 1:18-cr-20758-MGC Document11 Entered on FLSD Docket 10/04/2018 Page 4 of 11

4
7. The defendant agrees that he shall cooperate fully with this Office by: (a) providing

truthful and complete information and testimony, and producing documents, records and other
evidence, when called upon by this Office, whether in interviews, before a grand jury, or at any
trial or other Court proceeding; (b) appearing at such grand jury proceedings, hearings, trials, and
other judicial proceedings, and at meetings, as may be required by this Office; and (c) if requested
by this Office, working in an undercover role under the supervision of, and in compliance with,
law enforcement officers and agents. In addition, the defendant agrees that he will not protect
any person or entity through false information or omission, that he will not falsely implicate any
person or entity, and that he that he will not commit any further crimes.

8. This Office reserves the right to evaluate the nature and extent of the defendant’s
cooperation and to make that cooperation, or lack thereof, known to the Court at the time of
sentencing. If in the sole and unreviewable judgment of this Office the defendant’s cooperation
is of such quality and significance to the investigation or prosecution of other criminal matters as
to warrant the Court’s downward departure from the advisory sentencing range calculated under
the Sentencing Guidelines and/or any applicable minimum mandatory sentence, this Office may
make a motion prior to sentencing pursuant to Section 5K1.1 of the Sentencing Guidelines and/or
Title 18, United States Code, Section 3553(e), or subsequent to sentencing pursuant to Rule 35 of
the Federal Rules of Criminal Procedure, informing the Court that the defendant has provided
substantial assistance and recommending that the defendant’s sentence be reduced. The
defendant understands and agrees, however, that nothing in this agreement requires this Office to

file any such motions, and that this Office’s assessment of the quality and significance of the
Case 1:18-cr-20758-MGC Document 11 Entered on FLSD Docket 10/04/2018 Page 5of 11

5
defendant’s cooperation shall be binding as it relates to the appropriateness of this Office’s filing

or non-filing of a motion to reduce sentence.

9. The defendant understands and acknowledges that the Court is under no obligation to
grant a motion for reduction of sentence filed by this Office. In addition, the defendant further
understands and acknowledges that the Court is under no obligation of any type to reduce the
defendant’s sentence because of the defendant’s cooperation.

10. It is understood that should the defendant knowingly provide incomplete or untruthful
testimony, statements, or information pursuant to this agreement, or should the defendant falsely
implicate or incriminate any person, or should the defendant fail to voluntarily and unreservedly
disclose and provide full, complete, truthful, and honest knowledge, information, and cooperation
regarding any of the matters noted herein, the following conditions shall apply:

(a) The defendant may be prosecuted for any perjury or false declarations, if
any, committed while testifying pursuant to this agreement, or for obstruction of justice.

(b) The United States may prosecute the defendant for the charges which are to
be dismissed pursuant to this agreement, if any, and may either seek reinstatement of or refile such
charges and prosecute the defendant thereon in the event such charges have been dismissed
pursuant to this agreement. With regard to such charges, if any, which have been dismissed, the
defendant, being fully aware of the nature of all such charges now pending in the instant case, and
being further aware of defendant's rights, as to all felony charges pending in such cases (those
offenses punishable by imprisonment for a term of over one year), to not be held to answer to said
felony charges unless on a presentment or indictment of a grand jury, and further being aware that

all such felony charges in the instant case have heretofore properly been returned by the indictment
Case 1:18-cr-20758-MGC Document 11 Entered on FLSD Docket 10/04/2018 Page 6 of 11

6
of a grand jury, does hereby agree to reinstatement of such charges by decision of any order

dismissing them or, alternatively, does hereby waive, in open court, prosecution by indictment and
consents that the United States may proceed by information instead of by indictment with regard
to any felony charges which may be dismissed in the instant case, pursuant to this plea agreement,
and the defendant further agrees to waive the statute of limitations and any speedy trial claims on
such charges.

(c) The United States may prosecute the defendant for any offenses set forth
herein, if any, the prosecution of which in accordance with this agreement, the United States agrees
to forego, and the defendant agrees to waive the statute of limitations and any speedy trial claims
as to any such offenses.

(d) The government may use against the defendant the defendant's own
admissions and statements and the information and books, papers, documents, and objects that the
defendant has furnished in the course of the defendant's cooperation with the government.

(e) The defendant will not be permitted to withdraw the guilty pleas to those
counts to which defendant hereby agrees to plead in the instant case.

11. The defendant agrees to plead guilty to an Information, which charges the defendant
with participating in a money laundering conspiracy, in violation of Title 18, United States Code,
Section 1956(h). The defendant agrees and understands that the above charge involves the
defendant’s conduct, and the conduct of others, between in and about January 2007 and September
2018, in (a) receiving money that was the proceeds of narcotics trafficking, (b) engaging in
financial transactions with money that was the proceeds of narcotics trafficking, and (c) promising

and providing certain benefits in exchange for cash payments and other compensation. This
Case 1:18-cr-20758-MGC Document 11 Entered on FLSD Docket 10/04/2018 Page 7 of 11

7
agreement resolves the defendant’s federal criminal liability in the Southern District of Florida

growing out of any criminal conduct by the defendant known to this Office, as of the date of this
plea agreement, including but not limited to the above-described scheme.

12. This Office and the defendant agree that, although not binding on the probation office
or the Court, they will jointly recommend that the Court make the following findings and

conclusions as to the calculation of the Sentencing Guidelines:

Base Offense Level, Section 2S1.1(a)(2) +8
Plus Loss Amount of $800,000, Section 2B1.1 table + 14
Plus Controlled Substance, Section 2S1.1(b)(1)(B)(i) +6
Plus § 1956 Conviction, Section 2S1.1(b)(2)(B) +2

This results in an adjusted offense level of 27, after acceptance of responsibility per paragraph 6
of this agreement, and corresponds to a sentencing range of 70 to 87 months, assuming the
defendant falls within Criminal History Category I.

13. The defendant is aware that the sentence has not yet been determined by the Court.
The defendant also is aware that any estimate of the probable sentencing range or sentence that the
defendant may receive, whether that estimate comes from the defendant’s attorney, this Office, or
the probation office, is a prediction, not a promise, and is not binding on this Office, the probation
office or the Court. The defendant understands further that any recommendation that this Office
makes to the Court as to sentencing, whether pursuant to this agreement or otherwise, is not binding
on the Court and the Court may disregard the recommendation in its entirety. The defendant
understands and acknowledges, as previously acknowledged in paragraph 2 above, that the

defendant may not withdraw his plea based upon the Court’s decision not to accept a sentencing
. Case 1:18-cr-20758-MGC Document11 Entered on FLSD Docket 10/04/2018 Page 8 of 11

8
recommendation made by the defendant, this Office, or a recommendation made jointly by the

defendant and this Office.

14. The defendant knowingly and voluntarily agrees to the entry of a forfeiture money
judgment against him at the time of his sentencing (hereinafter, the “Forfeiture Money Judgment’),
which he agrees is a sum of money equal in value to property constituting, or derived from,
proceeds obtained by the defendant as the result of the violations to which he agree to plead guilty
herein, and the property used, or intended to be used, in any manner or part, to commit, or to
facilitate the commission of such violations.

15. The defendant knowingly and voluntarily agrees to waive his right to a hearing,
pursuant to Fed. R. Crim. P. 32.2(b)(1)(A), to determine the amount of the Forfeiture Money
Judgment. Furthermore, the defendant knowingly and voluntarily agrees that he shall not, in any
manner, act in opposition to the United States in seeking entry and full satisfaction of the Forfeiture
Money Judgment.

16. The defendant knowingly and voluntarily agrees to waive the following rights with
respect to the forfeiture the entry of the Forfeiture Money Judgment against him:

(a) All constitutional, legal, and equitable defenses to such forfeiture;

(b) Any constitutional or statutory double jeopardy defense or claim regarding
such forfeiture;

(c) Any claim or defense to such forfeiture brought or raised under the Eighth
Amendment to the United States Constitution, including, but not limited to, any claim or defense

of excessive fine; and
Case 1:18-cr-20758-MGC Document11 Entered on FLSD Docket 10/04/2018 Page 9 of 11

9
(d) Any right he may have to an appeal of any resulting order of forfeiture

regarding the Personal Property and/or the Forfeiture Money Judgment.

17. The defendant also agrees to assist this Office in all proceedings, administrative or
judicial, involving forfeiture to the United States of any property, including substitute property,
regardless of its nature or form, real or personal, which the defendant or others known to the
defendant, have accumulated as a result of illegal activities. The assistance shall include:
identification of any property subject to forfeiture, agreement to the entry of an order enjoining the
transfer or encumbrance of such property, and the transfer of such property to the United States by
delivery to this Office upon this Office’s request, any necessary and appropriate documentation,
including consents to forfeiture and quit claim deeds, to deliver good and marketable title to such
property.

18. The defendant is aware that Title 18, United States Code, Section 3742 and Title 28,
United States Code, Section 1291 afford the defendant the right to appeal the sentence imposed in
this case. Acknowledging this, in exchange for the undertakings made by the United States in
this plea agreement, the defendant hereby waives all rights conferred by Sections 3742 and 1291
to appeal any sentence imposed, including any restitution order, or to appeal the manner in which
the sentence was imposed, unless the sentence exceeds the maximum permitted by statute or is the
result of an upward departure and/or an upward variance from the advisory guideline range that
the Court establishes at sentencing. This appellate waiver also includes waiving the right to argue
on appeal that the statutes to which the defendant is pleading guilty are unconstitutional and/or
that the admitted conduct does not fall within the scope of the statutes. The defendant further

understands that nothing in this agreement shall affect the government’s right and/or duty to appeal
Case 1:18-cr-20758-MGC Document 11 Entered on FLSD Docket 10/04/2018 Page 10 of 11

10
as set forth in Title 18, United States Code, Section 3742(b) and Title 28, United States Code,

Section 1291. However, if the United States appeals the defendant’s sentence pursuant to
Sections 3742(b) and 1291, the defendant shall be released from the above waiver of appellate
rights. By signing this agreement, the defendant acknowledges that the defendant has discussed
the appeal waiver set forth in this agreement with the defendant’s attorney.

19. The defendant recognizes that pleading guilty may have consequences with respect to
the defendant’s immigration status tf the defendant is not a citizen of the United States. Under
federal law, a broad range of crimes are removable offenses, including the offense to which the
defendant is pleading guilty. Removal and other immigration consequences are the subject of a
separate proceeding, however, and defendant understands that no one, including the defendant’s
attorney or the Court, can predict to a certainty the effect of the defendant’s conviction on the
defendant’s immigration status. Defendant nevertheless affirms that the defendant wants to plead
guilty regardless of any immigration consequences that the defendant’s plea may entail, even if

the consequence is the defendant’s automatic removal from the United States.
Case 1:18-cr-20758-MGC Document 11 Entered on FLSD Docket 10/04/2018 Page 11 of 11

11

20. This is the entire agreement and understanding between this Office and the defendant

and supersedes any other

understandings made in the past.

Date:

(6 “3-18

Dat

Date: (0 “3~ We

agreements,

understandings, promises, representations, or

ARIANA FAJARDQOR
UNITED STATES AFT
By:

WALTER M.NORKIN ‘1
ASSISTANT U.S. ATTORNEY

G. LY
VAL, ng 7¥. “AL

CARLOS LEON, ESQ.
ATTORNEYS FOR DEFENDANT

  
 
 

 

  

MANUEL ANTONIO BALDIZON MENDEZ
DEFENDANT
